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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


   MEGAN GARCIA, individually and as            Civil No. 6:24-cv-01903-ACC-EJK
   the Personal Representative of the
   Estate of S.R.S III,
                                                UNOPPOSED MOTION FOR
                Plaintiff,                      LEAVE TO FILE A SINGLE 25-
                                                PAGE BREIF IN RESPONSE TO
        v.                                      MOTIONS TO DISMISS
   CHARACTER TECHNOLOGIES, INC.;
   NOAM SHAZEER; DANIEL DE
   FRIETAS ADIWARSANA; GOOGLE
   LLC; ALPHABET INC.,

                Defendants.


        Plaintiff MEGAN GARCIA, individually and as the Personal

  Representative of the Estate of S.R.S III, moves unopposed for leave to file a

  single 25-page brief in response to Defendants Daniel De Freitas Adiwarsana’s

  and Noam Shazeer’s Motions to Dismiss (Dkt. No. 63 and Dkt. No. 65.)

        WHEREAS, the response to the pending motions to dismiss is currently

  due on March 21, 2025;

        WHEREFORE, Plaintiff respectfully requests that the Court enter an order

  granting the motion for leave, and permit Plaintiff to file a single 25-page brief in

  response to Defendants Daniel De Freitas Adiwarsana’s and Noam Shazeer’s

  Motions to Dismiss.

                               Local Rule 3.01(g) Certification

        On March 17, 2025, counsel for Plaintiff conferred with counsel for all

  Defendants and certifies that Defendants do not oppose the relief requested.

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       Respectfully submitted this 18th day of March, 2025.

                                 SOCIAL MEDIA VICTIMS LAW CENTER

                                 By: /s/ Matthew P. Bergman
                                         Matthew P. Bergman
                                 Matthew Bergman
                                 matt@socialmediavictims.org
                                 600 1st Avenue, Suite 102-PMB 2383
                                 Seattle, WA 98104
                                 Telephone: (206) 741-4862




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